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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Melanie Damian
                                Plaintiff,
v.                                                   Case No.: 1:21−cv−02371
                                                     Honorable Thomas M. Durkin
Pepperdine University
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 7, 2021:


        MINUTE entry before the Honorable Sunil R. Harjani: Virtual settlement
conference held. The parties need more time to consider the Court's thoughts on this case
and to discuss it internally. Plaintiff shall submit further information as discussed at the
conference by 10/11/21 via the Court's settlement conference email box. Settlement
discussion by telephone set for 10/29/21 at 11:00 a.m. Lead counsel and the client
representatives that appeared at the settlement conference shall attend. Lead counsel are
instructed to promptly call into the Court's conference call−in number at (888) 684−8852,
and use Access Code 7354516. Mailed notice(lxs, )




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